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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


IN RE FOREIGN EXCHANGE BENCHMARK
RATES ANTITRUST LITIGATION
                                                     No. 1:13-cv-07789-LGS




            X X X X X X X X ORDER GRANTING MOTION FOR ISSUANCE OF A
            [PROPOSED]
                HAGUE CONVENTION REQUEST FOR INTERNATIONAL
               JUDICIAL ASSISTANCE TO TAKE TESTIMONY OVERSEAS

       The Court, having reviewed Plaintiffs’ Motion for Issuance of a Hague Convention

Request for International Judicial Assistance to Take Testimony Overseas as well as the papers in

support and opposition, HEREBY ORDERS THAT:

       1.       The Motion is GRANTED.

       2.       The Request for International Judicial Assistance Pursuant to the Hague

Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matter

attached as Exhibit A to the Declaration of Christopher M. Burke, dated October 26, 2020, is

hereby issued as the Court’s “Letter of Request” and is fully incorporated herein.

       3.       The signed Order and the Letter of Request will be given to Scott+Scott Attorneys

at Law LLP, Co-Lead Class Counsel for Plaintiffs, who will cause both documents to be filed with

The Senior Master (Queen’s Bench Division), Royal Courts of Justice Strand, London WC2A

2LL, England.

       4.       The Stipulation and Order of Confidentiality (ECF No. 555) in this action shall

apply to the deposition, including the transcript and video.
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        5.      This Order, the deposition of Ms. Carly Hosler, or the terms of the Letter of Request

(which are incorporated into this Order) shall not be construed or operate as a waiver of any

argument, position, objection, allegation, or claim or defense of any party in the above-captioned

action, or of the attorney-client privilege, the work product doctrine, or any other privileges, rights,

protections, or prohibitions that may apply to that evidence under the laws of England, the United

States, or the State of New York.

        6.      The parties will be subject to all safety guidance issued by this Court and the courts

of the United Kingdom with regard to the COVID-19 pandemic in order to ensure that the

deposition will proceed in a safe manner for the deponent, counsel, and other personnel.

The Clerk of Court is respectfully directed to close the motion at Docket No. 1527.
 So Ordered.

 Dated: November 6, 2020
        New York, New York




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